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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          8:13CR220
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
ELIODORO CABRERA, JR.,                        )
                                              )
                     Defendant.               )

        I am in receipt of a report from the Probation Office indicating that the defendant is
not eligible for a sentence reduction under Amendment 782. Counsel have been notified of
the Probation Office’s determination.

       IT IS ORDERED that a sentence reduction under Amendment 782 is denied.

       Dated July 1, 2015.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
